                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               NORTHERN DIVISION


PALMS AND PINE VENTURES, LLC and               )
MDH GLOBAL, LLC,                               )
               Plaintiffs,                     )
                                               )
                                               )                JUDGMENT
vs.                                            )            CASE NO. 2:20-CV-77-M
                                               )
                                               )
CERTAIN UNDERWRITERS AT                        )
LLOYD’S LONDON, HDI GLOBAL                     )
SPECIALTY SE, and UNDERWRITERS                 )
AT LLOYDS LONDON KNOWN AS                      )
SYNDICATE XLC 2003, CNP 4444, NVA              )
2007, QBE 1886, ARG 2121, AND ASC              )
1414,                                          )
                    Defendants.                )


Decision by Court.

This action came before the Honorable Richard E. Myers II, Chief United States District
Judge, for ruling as follows:

IT IS ORDERED, ADJUDGED, AND DECREED that pursuant to the court’s Order entered at
Docket Entry 52 on February 22, 2022, the court GRANTS Defendants’ Motion to Dismiss [DE-18]
and Plaintiffs’ claims are DISMISSED WITH PREJUDICE.

This Judgment filed and entered on February 22, 2022, and copies to:
Counsel of record for all parties (via CM/ECF Electronic Notification)

 February 22, 2022                                   Peter A. Moore, Jr.
                                                     Clerk of Court


                                                By: /s/ Kimberly R. Waddell
                                                    Deputy Clerk




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